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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                                  SAN JOSE DIVISION
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                                  12    DANIEL MATERA and SUSAN RASHKIS,                      Case No. 15-CV-04062-LHK
Northern District of California
 United States District Court




                                        as individuals, and on behalf of other persons
                                  13    similarly situated,                                   ORDER GRANTING PLAINTIFFS’
                                                       Plaintiffs,                            MOTION FOR FINAL APPROVAL OF
                                  14                                                          CLASS ACTION SETTLEMENT
                                  15            v.

                                  16    GOOGLE LLC,

                                  17                   Defendant.

                                  18
                                              This matter came on for hearing on February 8, 2018. The Court has considered the
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                                       Settlement Agreement (“Settlement”), objections and comments received regarding the
                                  20
                                       Settlement, the record in the Action, and the arguments and authorities of counsel. Good cause
                                  21
                                       appearing,
                                  22
                                              IT IS HEREBY ORDERED, ADJUDGED AND DECREED as follows:
                                  23
                                              1.      The Court, for purposes of this Final Judgment Approving Settlement and
                                  24
                                       Dismissing Claims of Class Members with Prejudice (“Judgment”), adopts the terms and
                                  25
                                       definitions set forth in the Settlement.
                                  26
                                              2.      This Court has jurisdiction over the subject matter of this Action, all parties to the
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                                   1   Action, and all Class Members.

                                   2          3.      The Court finds that the notice to the Class of the pendency of the Action and of

                                   3   this Settlement, and the application for service awards for Class Representatives, as provided for

                                   4   in the Settlement and by Order of this Court, has been implemented and fully complied with the

                                   5   requirements of Federal Rule of Civil Procedure 23 and due process.

                                   6          4.      The Court finds that Google properly and timely notified the appropriate state and

                                   7   federal officials of the Settlement, pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715.

                                   8          5.      The Court approves the Settlement as fair, reasonable, and adequate and in the best

                                   9   interests of the Class Members. The Court has specifically considered the factors relevant to class

                                  10   settlement approval (see, e.g., Churchill Village, L.L.C. v. General Elec., 361 F.3d 566 (9th Cir.

                                  11   2004)), including, inter alia, the strength of Plaintiffs’ case; the risk, expense, complexity, and

                                  12   likely duration of further litigation; the risk of maintaining class action status throughout trial; the
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                                  13   relief provided for in the Settlement; the extent of discovery completed and stage of the

                                  14   proceedings; the experience and views of Class Counsel and the mediator; and the reaction of

                                  15   Class Members to the proposed settlement.

                                  16          6.      The Court has also scrutinized the Settlement and negotiation history for any signs

                                  17   of potential collusion (see, e.g., In re Bluetooth Headset Prods. Liab. Litig., 654 F.3d 935 (9th Cir.

                                  18   2011)), and finds that the Settlement is not the product of collusion. This finding is supported by,

                                  19   among other things: the fact that the Settlement was negotiated by experienced, well-qualified

                                  20   counsel; the Settlement provides substantial benefits to Class Members and such benefits are not

                                  21   disproportionate to the attorneys’ fees and expenses sought by Class Counsel; the benefits

                                  22   provided to Class Members are appropriate under the circumstances of this case; and the parties

                                  23   began negotiating regarding attorneys’ fees and expenses only after reaching an agreement

                                  24   regarding the key deal terms.

                                  25          7.      Pursuant to the Settlement, Google shall provide the following benefits to Class

                                  26   Members:

                                  27                  (a)     Stipulated Injunction. For a period of three years commencing one-

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                                   1   hundred eighty (180) days after the date of the Final Judgment (the “Relevant Period”), Google

                                   2   shall be bound by the Stipulated Injunction set forth in the Settlement. Under the terms of the

                                   3   Stipulated Injunction, Google shall make technical changes such that:

                                   4          For incoming email sent to a Gmail account, Google will cease all processing of email

                                   5   content that it applies prior to the point when the Gmail user can retrieve the email in his or her

                                   6   mailbox using the Gmail interface (“pre-delivery processing”) and that is used for Advertising

                                   7   Purposes, as that term is defined in the Settlement. No information resulting from pre-delivery

                                   8   processing of email content will be used for any Advertising Purpose. In addition, information

                                   9   from pre-delivery processing of email content that occurred before the date of this Agreement or

                                  10   that occurs before the Stipulated Injunction goes into effect will not be used for Advertising

                                  11   Purposes once the Stipulated Injunction commences. Google agrees to refrain from all such

                                  12   activity described in this section (Section 40(a) of the Settlement) for the Relevant Period. These
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                                  13   technical changes and commitments shall apply to all incoming email sent to Gmail users in the

                                  14   United States. For outgoing email sent from a Gmail account, Google will refrain from all

                                  15   processing of email content prior to the point when the Gmail user can retrieve the outgoing email

                                  16   in his or her mailbox using the Gmail interface (“outbound processing”) that is used for

                                  17   Advertising Purposes, and from using information from outbound processing of email content for

                                  18   any Advertising Purpose. Google agrees to refrain from all such activity for the Relevant Period.

                                  19   These technical changes and commitments shall apply to all outgoing emails sent by Gmail users

                                  20   in the United States.

                                  21          At the February 8, 2018 hearing on the motion for final approval of class action settlement,

                                  22   Google’s counsel represented that Google had already implemented the technical changes and thus

                                  23   the Stipulated Injunction would be in effect for three years and 180 days after the Final Judgment.

                                  24          If Google’s new email architecture described above becomes outdated and must be

                                  25   improved or replaced during the pendency of the injunction, then Google may change its system

                                  26   design in a manner that will continue to comply with the requirements of the injunction above.

                                  27          In the Settlement, Google represented that it has no present intention of eliminating the

                                  28                                                     3
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                                   1   technical changes after expiration of the term of the injunction. Settlement Section 40(d).

                                   2   Moreover, about three months after the Court denied preliminary approval of the parties’ first

                                   3   class action settlement on March 15, 2017, Google announced on June 23, 2017 that it would no

                                   4   longer scan the content of Gmail emails for targeted advertising. Brian Fung, “Gmail will no

                                   5   longer snoop on your emails for advertising purposes,” Washington Post, June 26, 2017.

                                   6                  (b)     Certification. Google shall, upon making the changes required under this

                                   7   section, deliver a written certification under oath to Class Counsel stating that it has made the

                                   8   technical changes required under this paragraph.

                                   9          8.      Class Counsel are hereby awarded attorneys’ fees and expenses in the amount of

                                  10   $2,200,000 in fees and Class Counsel’s actual out-of-pocket expenses of $51,421.93. Google

                                  11   shall pay such amounts to Class Counsel pursuant to the terms of the Settlement. The Court finds

                                  12   these amounts to be fair and reasonable and fairly compensates Class Counsel for their
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                                  13   contributions to the prosecution of this Action and the Settlement.

                                  14          9.      The Court hereby awards service awards in the amount of $2,000 each, to Plaintiffs

                                  15   Daniel Matera and Susan Rashkis as Class Representatives, to compensate them for their

                                  16   commitments and efforts on behalf of the Class in this Action. Google shall pay such amounts to

                                  17   Plaintiffs, pursuant to the terms of the Settlement Agreement.

                                  18          10.     The Parties are to bear their own costs, except as awarded by this Court in this

                                  19   Final Order.

                                  20          11.     The Parties and Class Members are bound by the terms and conditions of the

                                  21   Settlement. Upon the Effective Date of this Settlement, Plaintiffs and each and every Class

                                  22   Member shall be deemed to have released, acquitted and forever discharged the Google Releasees,

                                  23   as that term is defined in the Settlement, from any and all Released Claims. The full terms of the

                                  24   release described in this paragraph are set forth in Sections 41 through 51 of the Agreement. The

                                  25   Court expressly adopts and incorporates by reference Sections 41 through 51 of the Agreement.

                                  26          12.     Per the terms of the Settlement, as of the Effective Date, the Class Representatives

                                  27   and Class Members shall be deemed to have agreed not to sue or otherwise make any claim

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                                   1   against Google relating to Released Claims.

                                   2          13.     The benefits described above are the only consideration Google shall be obligated

                                   3   to give to the Class Members, with the exception of the service awards to be paid to the Class

                                   4   Representatives.

                                   5          14.     The Action and all claims asserted in the Action are dismissed with prejudice as to

                                   6   the Class Representatives and all Class Members.

                                   7          15.     The Court reserves exclusive and continuing jurisdiction over the Action, the Class

                                   8   Representatives, the Class Members, and Google for the purposes of supervising the

                                   9   implementation, enforcement, and construction of the Settlement and this Judgment.

                                  10          16.     The Clerk shall close the file.

                                  11   IT IS SO ORDERED.

                                  12
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                                  13   Dated: February 9, 2018

                                  14                                                    ______________________________________
                                                                                        LUCY H. KOH
                                  15                                                    United States District Judge
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